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      4
          Attorney for Defendant
      5   Darrin Johnston

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      8                          IN THE UNITED STATES DISTRICT COURT FOR THE
      9                                   EASTERN DISTRICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                           )   Case No: 10-191 JAM
                                                              )
     12                  Plaintiff,                           )   WAIVER OF APPEARANCE
                                                              )
     13          vs.                                          )
                                                              )   Date: N/A
     14                                                       )   Time: N/A
          Darrin Johnston,                                    )   Courtroom: Honorable John A. Mendez
     15                                                       )
                                                              )
     16                  Defendant.                           )
                                                              )
     17                                                       )

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     19          Defendant Darrin Johnston hereby waives the right to be present in person in open court upon the

     20   hearing of any motion or other proceeding in this case, including when the case is set for trial, when a

     21   continuance is ordered, and when any other action is taken by the court before or after trial, except upon

     22   arraignment, plea, empanelment of jury and imposition of sentence.

     23          Defendant hereby requests the court to proceed during every absence of his which the court may

     24   permit pursuant to this waiver; agrees that his interests will be deemed represented at all time by the

     25   ///

     26   ///

     27   ///

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                                               WAIVER OF APPEARANCE
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                    Case 2:10-cr-00191-JAM Document 44 Filed 06/08/10 Page 2 of 2

      1   presence of his attorney, the same as if defendant were personally present; and further agrees to be

      2   present in person in court ready for trial on any day which the court may fix in his absence.

      3
                 Dated: June 4, 2010                           by:     /s/ Darrin Johnston
      4

      5          Dated: June 4, 2010
      6                                                        by:     /s/ Patrick K. Hanly
                                                                       Attorney for Defendant
      7                                                                Darrin Johnston

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     11          IT IS SO ORDERED.
     12          Dated: June 7, 2010                   /s/ John A. Mendez______________________
                                                       Honorable John A. Mendez
     13                                                United States District Court Judge
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                                                  WAIVER OF APPEARANCE
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